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                          UNITED STATES DISTRICT COURT
 9
                        NORTHERN DISTRICT OF CALIFORNIA
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                                       Case No. 4:10-CV-01811-YGR
12   In re SONY PS3 “OTHER OS”
     LITIGATION                        ORDER GRANTING MOTION FOR
13                                     PRELIMINARY APPROVAL OF CLASS
                                       ACTION SETTLEMENT AND
14                                     CERTIFICATION OF SETTLEMENT
                                       CLASS
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                                       AS MODIFIED BY THE COURT
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 1          This matter came before the Court on Plaintiffs’ Motion for Preliminary Approval of
 2   Class Settlement and Certification of Settlement Class. The Parties have entered into a

 3   Settlement Agreement (the “Settlement”) which, if approved, would resolve the above-

 4   captioned class action lawsuit (the “Action” or the “Class Action Lawsuit”). Upon review and

 5   consideration of the motion papers and the Settlement and all exhibits thereto, including the
     proposed forms of notice to the Class and the proposed Claim Form, the Court finds that there
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     is sufficient basis for: (1) granting preliminary approval of the Settlement; (2) provisionally
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     certifying the Class for settlement purposes only; (3) appointing Class Counsel and Plaintiffs to
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     represent the Class; (4) approving the Parties’ proposed notice program and forms of notice
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     substantially similar to those forms attached to the Settlement and directing that notice be
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     disseminated to the Class pursuant to the notice program provided in the Settlement; (5)
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     approving the Parties’ proposed Claim Form and approving the procedures set forth in the
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     Settlement for Class Members to submit claims, exclude themselves from the Class, and object
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     to the Settlement; (6) appointing a Settlement Administrator to conduct the duties assigned to
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     that position in the Settlement; and (7) setting a hearing (the “Fairness Hearing”) at which the
15   Court will consider: (a) whether to grant final approval of the Settlement; (b) Class Counsel’s
16   application for attorneys’ fees and costs; and (c) any request for service award for the Plaintiffs.
17          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:
18          1.      Capitalized and bolded terms not otherwise defined herein shall have the same
19   meaning as set forth in the Settlement.
20          2.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332, and has

21   personal jurisdiction over the Parties. Venue is proper in this District.

22          3.      This Action is provisionally certified as a class action for the purposes of

23   settlement only pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(3), and 23(e). The

24   Class is defined as follows:
            [A]ll persons in the United States who purchased a Fat PS3 in the United States
25          between November 1, 2006, and April 1, 2010, from an authorized retailer for
26          family, personal, and/or household use.

27   Consumer Class A is defined as follows:

28          [A]ll persons in the United States who purchased a Fat PS3 in the United States
            between November 1, 2006, and April 1, 2010, from an authorized retailer for

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 1          family, personal and/or household use and who used the Other OS functionality
            after installation of a Linux operating system on their Fat PS3.
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 3   Consumer Class B is defined as follows:
            [A]ll persons in the United States who purchased a Fat PS3 in the United States
 4          between November 1, 2006, and April 1, 2010, from an authorized retailer for
 5          family, personal, and/or household use.

 6   Excluded from the Class are: (a) any persons who are employees, directors, officers, and agents

 7   of SCEA or its subsidiaries and affiliated companies; (b) any persons who timely and properly

 8   exclude themselves from this Settlement; and (c) the Court, the Court’s immediate family, and

 9   Court staff.
            4.      Certification of the Class shall be solely for settlement purposes and without
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     prejudice to the Parties in the event the Settlement is not finally approved by this Court or
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     otherwise does not take effect.
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            5.      In support of this Preliminary Approval Order, the Court conditionally and
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     preliminarily finds that: (a) the Class Members are so numerous that joinder of all Class
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     Members is impracticable; (b) there are questions of law and fact common to the Class
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     Members, each of whom could have asserted the types of claims raised in the Action, and these
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     questions predominate over any questions affecting individual Class Members; (c) the named
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     Class Representatives’ claims are typical of the claims of the Class Members; (d) the named
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     Class Representatives and Class Counsel identified below are able to adequately represent the
19   Class Members; and (e) class-wide treatment of the disputes raised in the Action is superior to
20   other available methods for adjudicating the controversy.
21          6.      The Court preliminarily approves the proposed Settlement as fair, reasonable,
22   and adequate, entered into in good faith, free of collusion, and within the range of possible
23   judicial approval.

24          7.      The Court appoints the following as Class Counsel: James J. Pizzirusso of

25   Hausfeld LLP, Rosemary M. Rivas of Finkelstein Thompson LLP, and Kathleen V. Fisher of

26   Calvo Fisher & Jacob LLP.

27          8.      The Court appoints Plaintiffs Anthony Ventura, Jason Baker, James Girardi,
     Derek Alba, and Jonathan Huber as class representatives for the Class.
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 1          9.      The Court appoints Garden City Group, LLC to serve as the Settlement
 2   Administrator and directs it to carry out all duties and responsibilities of the Settlement

 3   Administrator specified in the Settlement.

 4          10.     The Court approves the program for disseminating notice to the Class set forth in

 5   the Settlement (the “Notice Program”). The Court approves the form and content of the
     proposed forms of notice in the forms attached to the Settlement Agreement as Exhibits 4 and
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     6. The Court finds that the proposed forms of notice are clear and readily understandable by
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     Class Members. The Court finds that the Notice Program AS MODIFIED HEREIN,
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     including the proposed forms of notice, constitutes the best notice practicable under the
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     circumstances, constitutes valid, due, and sufficient notice to the Class in full compliance with
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     the requirements of applicable law, including Federal Rule of Civil Procedure 23 and the Due
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     Process Clause of the United States Constitution, and is the only notice to the Class of the
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     Settlement that is required.
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            11.     The Court approves the form and content of the proposed Claim Form, in the
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     form attached to the Settlement as Exhibit 1, and approves the procedures set forth in the
15   Settlement for Class Members to submit Claims.
16          12.     Pursuant to the terms of the Settlement, to the extent SCEA has not already done
17   so, within fourteen (14) days after entry of this Order, SCEA shall provide to the Settlement
18   Administrator the Class Data for the Settlement Administrator’s use in disseminating notice
19   and processing Claims. The Class Data shall include an electronic list or database that is
20   reasonably calculated to include the email address(es) of all the Class Members known by

21   SCEA through its PlayStation Network Database.

22          13.     The “Notice Date” shall be forty-five (45) days following the entry of this Order.

23          14.     By no later than the Notice Date, the Settlement Administrator shall send the

24   Short Form Notice, substantially in the form attached to the Settlement Agreement as Exhibit
     6 and in the form approved by the Court, to Class Members via email for those Class
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     Members for whom an email address is available. The subject line for all emails covered by
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     this paragraph shall be: “Important - Notice of Class Action Settlement Regarding PlayStation 3
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 1   ‘Other OS’ Function.” The Short Form Notice shall note that exemplars of acceptable forms of
 2   proof of use for each category in Consumer Class A are available on the Settlement Website.

 3          15.     The Settlement Administrator shall provide one follow-up round of e-mail notice

 4   to those Class Members who have not submitted claims and for whom the Settlement

 5   Administrator did not receive a bounce-back in response to the first round of email notice.
            16.     By no later than the Notice Date, the Settlement Administrator shall post the
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     Long Form Notice, in the form approved by the Court, on the Settlement Website. The Long
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     Form Notice shall include exemplars of acceptable forms of proof of use for each category in
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     Consumer Class A.
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            17.     As soon as practicable following the entry of the Preliminary Approval Order
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     and, in all events, by no later than the Notice Date, the Settlement Administrator shall cause
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     the Summary Notice to be published in publication and media outlets as agreed upon by the
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     Parties.
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            18.     The Settlement Administrator shall establish and maintain an Internet website
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     (“Settlement Website”) where Class Members can obtain further information about the terms
15   of this Settlement, their rights, important dates and deadlines, exemplars of acceptable forms of
16   proof of use for each category in Consumer Class A, and related information. Class Members
17   shall also be able to submit a Claim Form electronically via the Settlement Website. The
18   Settlement Website shall include, in PDF format, the Second Amended Complaint (“SAC”), the
19   Settlement, the Motion for Preliminary Approval, the Preliminary Approval Order, the Class
20   Notice, any papers filed in support of final approval of the settlement, Class Counsel’s

21   application for attorneys’ fees and costs (after it is filed), the Final Approval Order (after it is

22   entered), and other case documents as agreed upon by the Parties and/or required by the Court

23   and shall be operational and live as of the date the Settlement Administrator begins emailing

24   notice. The Settlement Website shall be optimized for display on mobile phones. The
     Settlement Administrator shall maintain the Settlement Website as operational and shall not
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     take it down until two hundred (200) days after the Payment Date. Within five (5) business
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     days after the Settlement Website is taken down, the Settlement Administrator shall transfer
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     ownership of the URL for the Settlement Website to SCEA.
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 1          19.     The Settlement Administrator shall establish and maintain a toll-free telephone
 2   number (“Toll-Free Number”) where Class Members can call to request a copy of the

 3   Settlement Agreement, a Claim Form, or any other information concerning this Settlement or

 4   the Settlement Agreement. The Toll-Free Number shall be operational and live by no later

 5   than the date upon which the Settlement Website goes live.
            20.     By no later than seven (7) days after the Objection/Exclusion Date, the
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     Settlement Administrator shall file with the Court declaration(s) detailing the scope, methods,
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     and status of the Notice Program.
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            21.     Class Members who wish to submit a Claim shall have the option of submitting
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     Claim Forms online via the Settlement Website or by mail. Claim Forms submitted online
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     must be submitted by no later than the Claims Deadline (forty five (45) days following the
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     Notice Date). Claim Forms submitted by mail must be postmarked no later than the Claims
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     Deadline. The Settlement Administrator shall track all claims determined not to have
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     submitted valid proof of use for Consumer Class A, the nature of the proof of use offered, and
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     the basis for determining the claim invalid in an “Invalid Claim Log.” No later than 30 days
15   after the Claims Deadline, the Settlement Administrator shall provide to the parties a
16   declaration including a narrative summary and explanation of the data, and a copy of the Invalid
17   Claim Log, which shall be filed with the Court as part of with the motion for final approval.
18          22.     Any Class Member who wishes to be excluded from the Class must email or
19   mail a written request for exclusion to the Settlement Administrator at the address provided in
20   the Class Notice, postmarked no later than the Opt-Out Deadline (forty five (45) days

21   following the Notice Date), and must include: (a) their full name and address and, if applicable,

22   the name and address of any person claiming to be legally entitled to submit an exclusion request

23   on behalf of the Class Member and the basis for such legal entitlement; (b) must be emailed to

24   the email address provided in the Class Notice or mailed by First Class U.S. Mail, proper
     postage prepaid, to the Settlement Administrator at the specified mailing address as provided
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     in the Class Notice; (c) must be submitted or postmarked on or before the Opt-Out Deadline;
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     (d) the serial number of the Fat PS3 that he or she purchased and the PlayStation Network Sign-
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     In ID used for that console before April 1, 2010; and (e) a statement that is personally signed and
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 1   clearly indicates that he/she wants to be excluded from the Class. So-called “mass” or “class”
 2   opt-outs shall not be allowed.

 3          23.     If the Settlement is finally approved and becomes effective, any Class Member

 4   who does not send a timely and valid request for exclusion shall be a Settlement Class Member

 5   and shall be bound by all subsequent proceedings, orders, and judgments in the Action,
     including, but not limited to, the Release, even if he or she has litigation pending or
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     subsequently initiates litigation against SCEA relating to the claims and transactions released in
 7
     the Action.
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            24.     Any Class Member or person legally entitled to act on his or her behalf may
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     object to the Settlement, to Class Counsel’s request for attorneys’ fees and expenses (“Fee
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     Application”), and/or to any request for service awards for the Plaintiffs. To be considered, an
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     objection must be made in writing, must be mailed to the Settlement Administrator at the
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     address provided in the Class Notice, postmarked no later than the Objection Deadline (sixty
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     (60) days following the Notice Date), and must include the following: (a) the name of the
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     Action (In re Sony PS3 Other “OS” Litigation, No. C-10-1811 (YGR)); (b) the objector’s full
15   name, address, and telephone number; (c) if applicable, the name and address of any person
16   claiming to be legally entitled to object on behalf of a Class Member and the basis of such legal
17   entitlement; (d) all grounds for the objection; (e) the serial number of the Fat PS3 that he or she
18   purchased and the PlayStation Network Sign-In ID used for that console before April 1, 2010; (f)
19   whether the objector is represented by counsel and, if so, the identity of such counsel, and all
20   previous objections filed by the objector and their counsel within the last two years; and (g) the

21   objector’s signature.

22          25.     Any Class Member who submits a timely and valid written objection may appear

23   at the Fairness Hearing, either in person or through personal counsel hired at the Class

24   Member’s own expense. Any Class Member who does not submit a timely and valid objection
     shall be deemed to have waived all objections and shall forever be foreclosed from making any
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     objection to the fairness, adequacy, or reasonableness of the Settlement and any Final
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     Approval Order and Final Judgment entered approving it, Class Counsel’s Fee Application,
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     or any request for Service Awards for the Plaintiffs.
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 1          26.     The Settlement Administrator shall two (2) days after the Objection Deadline
 2   provide to Class Counsel and SCEA’s Counsel copies of any objections, including any related

 3   correspondence.

 4          27.     The Settlement Administrator shall no later than ten (10) days after the Opt-

 5   Out or Exclusion Deadline provide to Class Counsel and SCEA’s Counsel copies of any
     requests for exclusion, including any related correspondence.
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            28.     SCEA shall pay to the Settlement Administrator all reasonable costs associated
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     with the administration of the Settlement, distribution of Class Notice, and any other tasks
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     assigned to the Settlement Administrator by the Settlement, this Preliminary Approval
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     Order, by SCEA and the Class Counsel’s mutual agreement in writing, or by this Court.
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            29.     The Court directs that the Fairness Hearing be scheduled for January 24, 2017,
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     at 2:00 p.m. to assist the Court in determining whether the Settlement should be finally
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     approved as fair, reasonable, and adequate to the Settlement Class Members; whether Final
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     Judgment should be entered dismissing the Action with prejudice; whether Class Counsel’s
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     Fee Application should be approved; and whether any request for Service Awards for the
15
     Plaintiffs should be approved.
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            30.     The Parties shall file any motions in support of final approval of the Settlement
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     by no later than December 20, 2016. Class Counsel shall file their Fee Application and any
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     Request for Plaintiff Service Awards by no later than December 20, 2016. After it is filed,
19   Class Counsel’s Fee Application and Request for Plaintiff Service Awards shall be posted on
20   the Settlement Website.
21          31.     The Parties shall file any responses to any Class Member objections, and any
22   reply papers in support of final approval of the Settlement or Class Counsel’s Fee Application
23   and Request for Plaintiff Service Awards, by no later than January 10, 2017.
24          32.     The Court reserves the right to modify the date of the Fairness Hearing and

25   related deadlines set forth herein. In the event the Fairness Hearing is moved, the new date and

26   time shall be promptly posted on the Settlement Website by the Settlement Administrator.

27          33.     This Order shall become null and void and shall be without prejudice to the

28   rights of the Parties, all of whom shall be restored to their respective positions as they existed


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 1   immediately before the Court entered this Order, if: (a) the Settlement is not finally approved
 2   by the Court, or does not become final, pursuant to the terms of the Settlement; (b) the

 3   Settlement is terminated in accordance with the Settlement; or (c) the Settlement does not

 4   become effective pursuant to the terms of the Settlement for any other reason.

 5          34.     If the Settlement does not become final and effective pursuant to the terms of the
     Settlement, the Class Representatives, the Class Members, and SCEA shall be returned to
 6
     their respective statuses as of the date immediately prior to the execution of the Settlement
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     Agreement, and this Preliminary Approval Order shall have no force or effect, and neither
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     this Preliminary Approval Order nor the Settlement shall be construed or used as an
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     admission, concession, or declaration by or against SCEA of any fault, wrongdoing, breach, or
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     liability, or be construed or used as an admission, concession, or declaration by or against any of
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     the Plaintiffs or Class Members that their claims lack merit or that the relief requested is
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     inappropriate, improper, or unavailable, or as a waiver by any party of any defenses or claims he,
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     she, or it may have in this Action or in any other lawsuit, and it shall not be admissible in
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     evidence, or usable for any purpose whatsoever in the Action, any proceeding between the
15   Parties, or in any action related to the Released Claims or otherwise involving the Parties,
16   Class Members, or any Released Party.
17          35.     Pending the final determination of whether the Settlement should be approved,
18   all proceedings in this Action, except as may be necessary to implement the Settlement or
19   comply with the terms of the Settlement, are hereby stayed.
20          36.     Pending the final determination of whether the Settlement should be approved,

21   Plaintiffs and each Class Member, and any person purportedly acting on behalf of any Class

22   Member(s), are hereby enjoined from commencing, pursuing, maintaining, enforcing, or

23   prosecuting, either directly or indirectly, any Released Claims in any judicial, administrative,

24   arbitral or other forum, against any of the Released Parties, provided that this injunction shall
     not apply to the claims of any Class Members who have timely and validly requested to be
25
     excluded from the Class. Such injunction shall remain in force until Final Settlement Date or
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     until such time as the Parties notify the Court that the Settlement has been terminated. This
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     injunction is necessary to protect and effectuate the Settlement, this Preliminary Approval
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 1   Order, and this Court’s authority regarding the Settlement, and is ordered in aid of this
 2   Court’s jurisdiction and to protect its judgments.

 3          37.     Class Counsel, SCEA, and the Settlement Administrator are directed to carry

 4   out their obligations under the Settlement and this Preliminary Approval Order.

 5          38.     The following chart summarizes the dates and deadlines set by this Order:

 6                       Date	                                             Event	
     Fourteen (14) days after entry of Preliminary    Deadline for SCEA to provide last known
 7   Approval Order issued                            email addresses of Class Members known to
                                                      SCEA through its PlayStation Network
 8                                                    Database to Settlement Administrator
     Forty-five (45) days after entry of              Notice Date; deadline for Settlement
 9   Preliminary Approval Order                       Administrator to send Short Form Class
                                                      Notice to Class Members via email along
10                                                    with a link to the Settlement Website and
                                                      deadline for Settlement Administrator to
11                                                    post Long Form Notice on Settlement
                                                      Website
12   Forty-five (45) days after Notice Date           Claims Deadline, Objection Deadline and
                                                      Opt-Out Deadline or Exclusion Deadline
13   Ten (10) Days after the Opt-Out Deadline         Settlement Administrator shall provide to
                                                      Class Counsel and SCEA’s Counsel a
14                                                    complete and final list of Class Members
                                                      who submitted requests to exclude themselves
15                                                    from the Class
     Ten (10) days after the Claims Deadline          Settlement Administrator to provide to
16                                                    Class Counsel and SCEA’s Counsel a final
                                                      list of Class Members that made claims
17                                                    (regardless of validity of claims)
     Two (2) days after the Objection Deadline        Settlement Administrator shall provide to
18                                                    Class Counsel and SCEA’s Counsel all
                                                      objections submitted by Class Members.
19   Twenty (20) days after Objection Deadline        Class Counsel shall file with the Court any
                                                      and all objections to the Agreement redacted
20                                                    in accordance with ¶ 97 of the Agreement
                                                      and/or to Class Counsel’s Application for
21                                                    Attorneys’ Fees and Expenses and Request
                                                      for Service Awards	
22   Fourteen (14) days prior to the Objection        Deadline for Class Counsel to file
     Deadline                                         Application for Attorneys’ Fees and
23                                                    Expenses and Request for Service Awards
     Fifteen (15) days after notification from        Deadline for SCEA to notify Class Counsel
24   Settlement Administrator that more than          and the Court that it is terminating the
     three percent (3%) of the Class has requested    Settlement
25   exclusion
     No later than twenty-one (21) days after         Party exercising its right to terminate and
26   receiving notice of an event prompting           withdraw from the Settlement must serve a
     termination of the Settlement	                   signed writing on the other Party indicating
27                                                    termination and withdrawal	
     Sixty (60) days after the Effective Date         Class Counsel returns list of Class Members
28                                                    that made valid claims to Settlement


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 1                                                 Administrator
     December 20, 2016                             Deadline for Final Approval Motion and for
 2                                                 the parties to provide any responses to
                                                   Settlement Objections
 3   January 24, 2017 at 2:00 p.m.                 Final Approval Hearing Date
 4   Effective Date		                              The date of entry of the Final Approval
                                                   Order and Final Judgment if no objections
 5                                                 are filed to the Settlement or if all objections
                                                   are withdrawn prior to the Court ruling on
 6                                                 them; or thirty-one (31) calendar days after
                                                   the entry of the Final Approval Order and
 7                                                 Final Judgment if objections are filed and
                                                   overruled and no appeal is taken from the
 8                                                 Final Approval Order and/or Final
                                                   Judgment; or if a timely appeal is made,
 9                                                 thirty-one (31) calendar days after the date
                                                   any appeal is voluntarily dismissed; or if a
10                                                 timely appeal is made and heard, thirty-one
                                                   (31) calendar days after the final resolution of
11                                                 that appeal or petitions for certiorari from the
                                                   Final Approval and/or Final Judgment
12   Fourteen (14) days after the Effective Date   SCEA provides to the Settlement
                                                   Administrator funds sufficient to pay valid
13                                                 Claims
     Thirty (30) days after the Effective Date     Payment Date (i.e., Deadline for Settlement
14                                                 Administrator to Disburse Settlement Fund)
     Two hundred (200) days after the Effective    Settlement Website taken down
15   Date
     Five (5) business days after Settlement       Settlement Administrator to transfer
16   Website is taken down                         Settlement Website URL to SCEA
     Two hundred and ten (210) days after the      Deadline for Settlement Administrator to
17   Effective Date.                               destroy any and all Class Members’ personal
                                                   identifying information that it has received
18                                                 from SCEA or otherwise in connection with
                                                   the implementation and administration of this
19                                                 Settlement
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            IT IS SO ORDERED.
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22   Dated: September 8, 2016                           __________________________________
23                                                         YVONNE GONZALEZ ROGERS
                                                              United States District Judge
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